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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA



   TERRY A. RIGGLEMAN,

                 Plaintiff,


                 v.                                       Civil Action No. 5:17-cv-00063

   HAROLD CLARKE, et al.,

                 Defendants.


               MEMORANDUM IN SUPPORT OF MOTION TO QUASH
          AND TO PERMIT DEPOSITION TESTIMONY TO BE USED AT TRIAL

         Non-parties VCU Health System (“VCUHS”) and Reena Cherian, N.P.’s (“Ms. Cherian”),

  by counsel, pursuant to Rules 32 and 45 of the Federal Rules of Civil Procedure, respectfully move

  the Court to quash the subpoena issued by Plaintiff Terry Riggleman (“Riggleman”) to Reena

  Cherian, N.P. (“Ms. Cherian”) on April 25, 2019 (“Plaintiff’s Subpoena,” attached as Exhibit A).

  Plaintiff’s Subpoena commands Ms. Cherian to appear to testify at the trial of this matter in

  Charlottesville, Virginia, May 14, 2019, at 9:30 a.m.

         VCUHS and Ms. Cherian also move the Court to quash the subpoena issued by Defendants

  Harold Clarke and Mark Amonette, M.D. (“Defendants”) to Ms. Cherian on April 25, 2019

  (“Defendants’ Subpoena,” attached as Exhibit B; Plaintiff’s Subpoena and Defendants’ Subpoena

  referred to collectively as the “Subpoenas”). Defendants’ Subpoena commands Ms. Cherian to

  appear to testify at the trial of this matter in Charlottesville, Virginia, May 13-17, 2019, at 9:30

  a.m.

         VCUHS and Ms. Cherian further move the Court to permit Ms. Cherian’s previously taken

  deposition testimony to be used at the trial of this matter, in the interest of justice and with due
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  regard to the importance of live testimony in open court.

                                         LEGAL STANDARD

         A party who issues a subpoena “must take reasonable steps to avoid imposing undue

  burden or expense on a person subject to the subpoena.” Fed. R. Civ. P. 45(d)(1). The Court

  “must enforce this duty and impose an appropriate sanction . . . on a party who fails to comply.”

  Id. And a Court, “[o]n timely motion . . . must quash or modify” a subpoena that “subjects a person

  to undue burden.” Fed. R. Civ. P. 45(d)(3)(A)(iv). Motions to quash filed shortly after service are

  usually considered “timely.” See, e.g., SmithKline Beecham Corp., 2006 WL 2246146, at *3

  (M.D. Fla. Aug. 4, 2006) (finding a motion filed 15 days after service timely); Flynn v. Square

  One Dist., Inc., 2016 WL 2997673, at *2 (M.D. Fla. May 5, 2016) (finding motions filed before

  the deadline for compliance timely).

         Trial courts have broad discretion to quash or modify subpoenas issued to third parties.

  See Singletary v. Sterling Trans. Co., Inc., 289 F.R.D. 237, 240 (E.D. Va. 2012) (citing Cook v.

  Howard, 2012 WL 3634451, at *6 (4th Cir. Aug. 23, 2012) (unpublished) (holding that district

  courts are afforded broad discretion with respect to motions to quash, and finding that the list of

  grounds in Rule 45 “are co-extensive with the general rules governing all discovery that are set

  forth in Rule 26.”)).

         A party may use deposition testimony in lieu of live testimony at trial “for any purpose” if

  the Court finds “on motion and notice, that exceptional circumstances make it desirable – in the

  interest of justice and with due regard to the important of live testimony in open court – to permit

  the deposition to be used.” Fed. R. Civ. P. 32(a)(4)(E).




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                                             ARGUMENT

         The Court should quash the Subpoenas to Ms. Cherian because compliance would unduly

  burden Ms. Cherian and her patients, and the burden of compliance outweighs any benefit. The

  Court should further permit Ms. Cherian’s previous deposition testimony to be used at trial because

  exceptional circumstances make it desirable to permit the deposition to be used in lieu of her live

  appearance.

         Ms. Cherian is a nurse practitioner and works in VCUHS’s program with the Virginia

  Department of Corrections (“VDOC”) for the management and treatment of inmates with chronic

  Hepatitis C (the “Clinic”). See Affidavit of Reena Cherian, N.P., attached as Exhibit C. Ms.

  Cherian also sees community hepatology patients. She devotes the entirety of her professional

  time to caring for and treating patients with liver disease and conditions. Ms. Cherian’s schedule

  is arranged several weeks, and sometimes months, in advance. If she must attend trial to testify,

  she will be forced to cancel and reschedule appointments for patients who can ill afford such

  disruption of their treatment.

         Ms. Cherian was deposed as a fact witness on February 11, 2019. The extent and nature

  of Ms. Cherian’s knowledge is well-known to the parties, and appearing at trial to testify would

  impose a tremendous and unnecessary burden on her and her patients. As such, the Court should

  quash the Subpoenas and permit Ms. Cherian’s previously obtained deposition testimony to be

  used rather than require her appearance at trial.

                                           CONCLUSION

         For the foregoing reasons, VCUHS and Ms. Cherian respectfully request that this Court

  quash the Subpoenas in their entirety, permit Ms. Cherian’s deposition testimony to be used at

  trial, and award reasonable attorney’s fees associated with this motion.




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   Dated: May 3, 2019                      Respectfully Submitted,

                                           VCU HEALTH SYSTEM AND REENA
                                           CHERIAN, N.P.

                                                        /s/
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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on the 3rd day of May, 2019, I electronically filed

  the foregoing with the Clerk of the Court using the CM/ECF system, which will send a notification

  of such filing (NEF) to the following:

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